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                             Exhibit E
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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN


JEFFREY SCHREIBER, RICHARD
COLONY, KAY VREDEVELD, and                     Case No. 22-cv-00188-HYJ-RSK
MICHAEL SURNOW, individually and on
behalf of all others similarly situated,       Hon. Hala Y. Jarbou

                                               Mag. Judge Ray S. Kent
                   Plaintiffs,


      v.

MAYO FOUNDATION FOR MEDICAL
EDUCATION AND RESEARCH,


                   Defendant.

                        FINAL JUDGMENT AND
                 ORDER OF DISMISSAL WITH PREJUDICE

      WHEREAS, a class action is pending before the Court entitled Schreiber v.

Mayo Foundation for Medical Education and Research, Case No. 22-cv-00188-

HYJ-RSK; and

      WHEREAS, Plaintiffs Jeffrey Schreiber, Richard Colony, Kay Vredeveld,

and Michael Surnow and Defendant Mayo Foundation for Medical Education and

Research, have entered into a Class Action Settlement Agreement, which, together

with the exhibits attached thereto, sets forth the terms and conditions for a proposed

settlement and dismissal of the Action with prejudice as to Defendant upon the terms

and conditions set forth therein (the “Settlement Agreement”) (Ex. 1 to ECF No. 66-
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2, PageID.3550-3627); and

      WHEREAS, on February 21, 2024, the Court granted Plaintiffs’ Motion for

Preliminary Approval of Class Action Settlement, conditionally certifying a Class

pursuant to Fed. R. Civ. P. 23(b)(3) of: “All Michigan direct purchasers of Mayo

Clinic Health Letter whose information was included on the following lists obtained

in discovery: MAYO_Schreiber_000533 and MAYO_Schreiber_00519. As

revealed    in   discovery,    these    lists   (MAYO_Schreiber_000533          and

MAYO_Schreiber_00519) identify 62,746 Michigan direct purchasers of Mayo

Clinic Health Letter whose Michigan Subscriber Information was transmitted to

third parties between June 16, 2016 and July 30, 2016.” ECF No. 68, PageID.3771;

and

      WHEREAS the Court has considered the Parties’ Class Action Settlement

Agreement (Ex. 1 to ECF No. 66-2), as well as Plaintiffs’ Unopposed Motion for

Final Approval of the Settlement Agreement (ECF No. 75), Plaintiffs’ Unopposed

Motion for Service Awards and Fee Award (ECF No. 72), together with all exhibits

thereto, the arguments and authorities presented by the Parties and their counsel at

the Final Approval Hearing held on May 29, 2024, and the record in the Action, and

good cause appearing;

IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

      1.    Terms and phrases in this Final Judgment shall have the same meaning



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as ascribed to them in the Parties’ Class Action Settlement Agreement.

      2.     This Court has jurisdiction over the subject matter of the Action and

over all Parties to the Action, including all Settlement Class members.

      3.     The notice provided to the Settlement Class pursuant to the Settlement

Agreement (Ex. 1 to ECF No. 66-2) and the order granting Preliminary Approval

(ECF No. 68) – including (i) direct notice to the Settlement Class via U.S. mail or e-

mail, based on the comprehensive Settlement Class List provided by Defendant, and

(ii) the creation of the Settlement Website – fully complied with the requirements of

Fed. R. Civ. P. 23 and due process, was reasonably calculated under the

circumstances to apprise the Settlement Class of the pendency of the Action, their

right to object to or to exclude themselves from the Settlement Agreement, and their

right to appear at the Final Approval Hearing.

      4.     The Court finds that Defendant properly and timely notified the

appropriate government officials of the Settlement Agreement, pursuant to the Class

Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715. The Court has reviewed

the substance of Defendant’s notice and finds that it complied with all applicable

requirements of CAFA. Further, more than ninety (90) days have elapsed since

Defendant provided notice pursuant to CAFA and the Final Approval Hearing.

      5.     This Court now gives final approval to the Settlement Agreement, and

finds that the Settlement Agreement is fair, reasonable, adequate, and in the best



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interests of the Settlement Class. The settlement consideration provided under the

Settlement Agreement constitutes fair value given in exchange for the release of the

Released Claims against the Released Parties. The Court finds that the consideration

to be paid to members of the Settlement Class is reasonable, and in the best interests

of the Settlement Class Members, considering the total value of their claims

compared to (i) the disputed factual and legal circumstances of the Action, (ii)

affirmative defenses asserted in the Action, and (iii) the potential risks and likelihood

of success of pursuing litigation on the merits. The complex legal and factual posture

of this case, the amount of discovery completed, and the fact that the Settlement is

the result of arm’s-length negotiations between the Parties support this finding. The

Court finds that these facts, in addition to the Court’s observations throughout the

litigation, demonstrate that there was no collusion present in the reaching of the

Settlement Agreement, implicit or otherwise.

      6.     The Court has specifically considered the factors relevant to class

action settlement approval, including:

             (1) the risk of fraud or collusion; (2) the complexity,
             expense and likely duration of the litigation; (3) the
             amount of discovery engaged in by the parties; (4) the
             likelihood of success on the merits; (5) the opinions of
             class counsel and class representatives; (6) the reaction of
             absent class members; and (7) the public interest.

UAW v. Gen. Motors Corp., 497 F.3d 615, 631 (6th Cir. 2007).

      7.     The Court has also considered the factors relevant to class action


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settlement approval enumerated in Federal Rule of Civil Procedure 23(e).

      8.     The Court finds that the Class Representatives and Class Counsel

adequately represented the Settlement Class for the purposes of litigating this matter

and entering into and implementing the Settlement Agreement.

      9.     Accordingly, the Settlement is hereby finally approved in all respects.

      10.    The Parties are hereby directed to implement the Settlement Agreement

according to its terms and provisions. The Settlement Agreement is hereby

incorporated into this Final Judgment in full and shall have the full force of an Order

of this Court.

      11.    This Court hereby dismisses the Action, as identified in the Settlement

Agreement, on the merits and with prejudice.

      12.    Upon the Effective Date of this Final Judgment, Plaintiffs and each and

every Settlement Class Member who did not opt out of the Settlement Class,

including such individuals’ respective present or past heirs, executors, estates,

administrators, predecessors, successors, assigns, parent companies, subsidiaries,

associates, affiliates, employers, employees, agents, consultants, independent

contractors, directors, managing directors, officers, partners, principals, members,

attorneys, accountants, financial and other advisors, underwriters, shareholders,

lenders, auditors, investment advisors, legal representatives, successors in interest,

assigns and companies, firms, trusts, and corporations shall be deemed to have



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released Mayo Foundation for Medical Education and Research, as well as any and

all of its respective present or past heirs, executors, estates, administrators,

predecessors, successors, assigns, parent companies, subsidiaries, licensors,

licensees, associates, affiliates, employers, agents, consultants, independent

contractors, including without limitation employees of the foregoing, owners,

directors, managing directors, officers, partners, principals, members, attorneys,

accountants, financial and other advisors, underwriters, shareholders, lenders,

auditors, investment advisors, legal representatives, successors in interest, assigns

and companies, firms, trusts, and corporations from any and all actual, potential,

filed, known or unknown, fixed or contingent, claimed or unclaimed, suspected or

unsuspected, claims, demands, liabilities, rights, causes of action, contracts or

agreements, extra contractual claims, damages, punitive, exemplary or multiplied

damages, expenses, costs, attorneys’ fees and or obligations (including “Unknown

Claims,” as defined in the Settlement Agreement), whether in law or in equity,

accrued or un-accrued, direct, individual or representative, of every nature and

description whatsoever, whether based on the PPPA or other state, federal, local,

statutory or common law or any other law, rule or regulation, against the Released

Parties, or any of them, arising out of any facts, transactions, events, matters,

occurrences, acts, disclosures, statements, representations, omissions or failures to

act regarding the alleged disclosure of the Settlement Class Members’ personal



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information or Michigan Subscriber Information, including but not limited to all

claims that were brought or could have been brought in the Action relating to any

and all Releasing Parties.

      13.    Upon the Effective Date of this Final Judgment, the above release of

claims and the Settlement Agreement will be binding on, and will have res judicata

and preclusive effect on, all pending and future lawsuits or other proceedings

maintained by or on behalf of Plaintiffs and all other Settlement Class Members and

Releasing Parties. All Settlement Class Members are hereby permanently barred and

enjoined from filing, commencing, prosecuting, intervening in, or participating (as

class members or otherwise) in any lawsuit or other action in any jurisdiction based

on or arising out of any of the Released Claims.

      14.    The Court has also considered Plaintiffs’ Unopposed Motion for

Service Awards and Fee Award, as well as the supporting declarations (ECF No.

72), and adjudges that Service Awards to Class Representatives in the amounts of

$3,500 to Plaintiff Jeffrey Schreiber, $2,500 to Plaintiff Richard Colony, $2,500 to

Plaintiff Kay Vredeveld, and $1,000 to Plaintiff Michael Surnow to compensate

them for their efforts and commitment on behalf of the Settlement Class, is fair,

reasonable, and justified under the circumstances of this case. See ECF No. 72. Such

payments shall be made pursuant to and in the manner provided by the terms of the

Settlement Agreement. The Court also adjudges that the payment of the Fee Award



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to Class Counsel in the amount of $18,375,000 is reasonable in light of the multi-

factor test used to evaluate fee awards in the Sixth Circuit. See Ramey v. Cincinnati

Enquirer, Inc., 508 F.2d 1188, 1196 (6th Cir. 1974). This Fee Award includes Class

Counsel’s unreimbursed litigation expenses. Such payment shall be made pursuant

to and in the manner provided by the terms of the Settlement Agreement.

      15.    All payments made to Settlement Class Members pursuant to the

Settlement Agreement that are not cashed within one-hundred and eighty (180) days

of issuance shall be redistributed on a pro rata basis (after first deducting any

necessary settlement administration expenses from such uncashed check funds) to

all Settlement Class Members who cashed checks during the initial distribution, but

only to the extent each Settlement Class Member would receive at least $5.00 in any

such secondary distribution and if otherwise feasible. To the extent each Settlement

Class Member would receive less than $5.00 in any such secondary distribution or

if a secondary distribution would be otherwise infeasible, any uncashed check funds

shall revert to the Michigan Bar Foundation’s Access to Justice Fund, which the

Court approves as an appropriate cy pres recipient. Except as otherwise set forth in

this Order, the Parties shall bear their own costs and attorneys’ fees.

      16.    The Parties, without further approval from the Court, are hereby

permitted to agree and adopt such amendments, modifications, and expansions of

the Settlement Agreement and its implementing documents (including all exhibits to



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 the Settlement Agreement) so long as they are consistent in all material respects with

 this Final Judgment and do not limit the rights of Settlement Class Members.

       17.    Without affecting the finality of this Final Judgment for purposes of

 appeal, until the Effective Date the Court shall retain jurisdiction over all matters

 relating to administration, consummation, enforcement, and interpretation of the

 Settlement Agreement.

       18.    This Court hereby directs entry of this Final Judgment pursuant to

 Federal Rule of Civil Procedure 54(b) and 58 based upon the Court’s finding that

 there is no just reason for delay of enforcement or appeal of this Final Judgment.


 IT IS SO ORDERED, this ______ day of _______________, 2024.



                                  _________________________________
                                   The Honorable Hala Y. Jarbou
                                   United States District Judge




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